                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN


KATHRYN ROBINSON,

               Plaintiff,                                    Case No.: ____________

THE HONORABLE DENIS RICHARD MCDONOUGH,
SECRETARY OF THE UNITED STATES         Removed From:
DEPARTMENT OF VETERANS AFFAIRS,        Milwaukee County Circuit Court
                                       Case No. 22-CV-624
          Involuntary Plaintiff,

v.

SPEEDWAY LLC,
ABC MAINTENANCE COMPANY and
DEF INSURANCE COMPANY,

               Defendants.


                        NOTICE OF REMOVAL OF CIVIL ACTION


       Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, the Defendant, Speedway LLC

(“Speedway”), seeks to remove this case from Milwaukee County Circuit Court, State of

Wisconsin, to the United States District Court for the Eastern District of Wisconsin. In support of

this Notice of Removal, Speedway states as follows:

       1.      On January 31, 2022, the above-entitled action was electronically filed in

               Milwaukee County Circuit Court, State of Wisconsin, as Case No. 2022-CV-624.

               See, Exhibit A: Summons and Complaint.

       2.      No demand or medical bills concerning Plaintiff’s damages were conveyed to

               Speedway prior to the filing of the above case.




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3.      Pursuant to Wis. Stat. § 802.02(1m), the tort-based complaint did not contain an

        amount in controversy. See, Exhibit A: Complaint.

4.      On March 11, 2022, Speedway electronically filed an Answer to the Complaint.

        See, Exhibit B: Answer and Affirmative Defenses to Plaintiff’s Complaint.

5.      On June 21, 2022, Plaintiff electronically filed a scheduling conference data sheet

        in which Plaintiff disclosed that past medical expenses claimed are $174,119.89.

        See, Exhibit C: Plaintiff’s Scheduling Conference Data Sheet.

6.      Venue of this removal is proper under 28 U.S.C. § 1441(a) because this court is the

        U.S. District Court for the District corresponding to the place where the state court

        action is pending.

7.      This is a civil action that falls under the court’s original jurisdiction under 28 U.S.C.

        § 1332 (diversity of citizenship and amount in controversy) and is one that may be

        removed by this court based on 28 U.S.C. § 1441 and 1446.

8.      Plaintiff’s scheduling conference data sheet alleges an amount in controversy that

        exceeds $75,000.

9.      Diversity jurisdiction exists because Plaintiff and Defendant are citizens of

        different states. Further, although Involuntary Plaintiff, the Department of Veterans

        Affairs, is not recognized as a “citizen” of any state, diversity jurisdiction exists

        because the governmental agency is neither being sued nor asserting its own claim.

        See, e.g., Howard v. Wal-Mart Stores East I, LP, Case No. 18-CV-431-JPS, 2018

        U.S. Dist. LEXIS 158951, *3 (E.D. Wis. September 18, 2018) (the Honorable J.P.

        Stadtmueller explained: “[s]imilarly, because there are no claims asserted against

        [the federal agency] itself, Corcoran does not require dismissal of the suit.”) (citing




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      Gen. Ry. Signal Co. v. Corcoran, 921 F.2d 700, 703 (7th Cir. 1991) (holding that

      United States agencies cannot be sued in diversity)). Therefore, the Department’s

      joinder in this matter does not preclude this Court from exercising jurisdiction.

10.   Plaintiff’s Complaint alleges that she is a resident of Milwaukee County in the State

      of Wisconsin.

11.   Speedway LLC is a Delaware limited liability company with a sole member SEI

      Speedway Holdings, LLC. SEI Speedway Holdings, LLC is a Delaware limited

      liability company with a sole member 7-Eleven, Inc. 7-Eleven, Inc. is a Texas

      corporation with its principal place of business in Irving, Texas. Thus, Speedway

      LLC is a citizen of Texas, as Speedway’s sole member is a citizen of Texas.

      Belleville Catering Co. v. Champaign Mkt. Place LLC, 350 F.3d 691 (7th Cir.

      2003).

12.   The United States Department of Veterans Affairs is a governmental agency, duly

      organized and existing under and by virtue of the laws of the United States. Plaintiff

      alleges doubt that the Department is truly subrogated or interested in this action,

      but Plaintiff joined the Department as a party for the purposes of complying with

      the Federal Medical Care Recovery Act. 42 U.S.C. §§ 2651-2653. See, Compl. At

      ¶ 2. The Department has not appeared in this case and has not asserted an

      independent claim for recovery.

13.   Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is filed with this Court

      within 30 days after receipt of the Scheduling Conference Data Sheet which first

      put Speedway on notice that the amount in controversy exceeds $75,000.00.




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       14.     Filed herewith as Exhibit D is a complete copy of the Milwaukee County Circuit

               Court electronic record.

       WHEREFORE, the Defendant, Speedway LLC, hereby requests removal of the above-

captioned action from Milwaukee County Circuit Court, State of Wisconsin, to the United States

District Court for the Eastern District of Wisconsin.

       Dated at Milwaukee, Wisconsin, this 20th day of July, 2022.



                                              s/ Jason P. Gehring
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